            Case: 09-56675, 06/29/2012, ID: 8232982, DktEntry: 111, Page 1 of 2

                                                                             FILED
                       UNITED STATES COURT OF APPEALS                         JUN 29 2012

                                                                          MOLLY C. DWYER, CLERK
                               FOR THE NINTH CIRCUIT                       U .S. C O U R T OF APPE ALS




In re: NCAA STUDENT-ATHLETE                        No. 10-15387
NAME & LIKENESS LICENSING
LITIGIATION,                                       D.C. No. 4:09-cv-01967-CW
                                                   Northern District of California,
                                                   Oakland
SAMUEL MICHAEL KELLER; et al.,

                 Plaintiffs - Appellees,           ORDER

  v.

ELECTRONIC ARTS INC.,

                 Defendant - Appellant,

  and

NATIONAL COLLEGIATE ATHLETIC
ASSOCIATION and COLLEGIATE
LICENSING COMPANY,

                 Defendants.



Before: THOMAS and BYBEE, Circuit Judges, and QUIST, Senior District
Judge.*

        The motion for leave to file a supplemental amicus curiae brief filed by the

National Football League Players Association, the Major League Baseball Players


        *
             The Honorable Gordon J. Quist, Senior District Judge for the U.S.
District Court for Western Michigan, sitting by designation.
        Case: 09-56675, 06/29/2012, ID: 8232982, DktEntry: 111, Page 2 of 2




Association, the National Hockey League Players’ Association, the National

Basketball Players Association, and the Major League Soccer Players Union

(collectively, “Player Associations”) is GRANTED. The Player Associations’

motion for leave to participate in the upcoming oral argument for this case is

DENIED.
